Case 3:21-cv-00165-DMS-BLM Document 7 Filed 06/01/21 PageID.35 Page 1 of 6



  1   Kenneth M. Sigelman, Esq. (SBN: 100238)
      E-Mail: ken@sigelmanassociates.com
  2   Andrew R. Chivinski, Esq. (SBN: 236861)
      E-Mail: andrew@sigelmanassociates.com
  3   Mark A. Birmingham, Esq. (SBN: 132008)
      E-Mail: mark@sigelmanassociates.com
  4   KENNETH M. SIGELMAN & ASSOCIATES
      1901 1st Ave., 2nd floor
  5   San Diego, California 92101
      Telephone: (619) 238-3813
  6   Facsimile: (619) 238-1866
  7 Hamilton Arendsen, Esq. (SBN: 212844)
    E-Mail: harendsen@arendsenlaw.com
  8 ARENDSEN CANE MOLNAR LLP
    550 West C Street, Suite 1150
  9 San Diego, CA 92101
    Telephone: (619) 535-3910
 10 Facsimile: (619) 535-3920

 11   Attorneys for Plaintiffs
 12                        UNITED STATES DISTRICT COURT
 13                     SOUTHERN DISTRICT OF CALIFORNIA
 14

 15    FRV, a Minor, By and Through His        Case No. 21-CV-00329-JLS-KSC
 16    Guardian ad litem, CRISTAL
       CAZARES VALENZUELA; and                 JOINT RULE 42(a)(2) MOTION
 17    SONIA VALENZUELA PEREZ,                 TO CONSOLIDATE CASES FOR
       Individually,                           DISCOVERY AND TRIAL
 18                       Plaintiffs,
 19    v.
 20    UNITED STATES OF AMERICA;
 21    and DOES 1 through 20, Inclusive,       Hon. Janis L. Sammartino

 22                       Defendants.

 23

 24

 25

 26

 27

 28

                                           1
Case 3:21-cv-00165-DMS-BLM Document 7 Filed 06/01/21 PageID.36 Page 2 of 6



  1    FRV, a Minor, By and Through His              Case No. 21-CV-00165-DMS-BLM
       Guardian ad litem, CRISTAL
  2    CAZARES VALENZUELA; and
       SONIA VALENZUELA PEREZ,                       Hon. Dana M. Sabraw
  3    Individually,
  4                        Plaintiffs,
  5    v.
  6    TRI-CITY HEALTHCARE
       DISTRICT; TRI-CITY MEDICAL
  7    CENTER; VISTA COMMUNITY
       CLINIC, MELISSA HAWKINS,
  8    M.D.; ROMANA BAILEY, M.D.; and
       DOES 1 through 100,
  9    Inclusive,
 10                        Defendants.
 11

 12
                       Joint Rule 42 (a)(2) Motion to Consolidate Cases for
 13                                 Discovery and Trial

 14         Pursuant to Rule 42(a)(2) , and Local Civil Rule 7.2, Plaintiffs and Defendants

 15   in FRV, a Minor, etc., et al. v. Tri-City Healthcare District, et al., Case No.

 16   21-CV-00165-DMS-BLM, and FRV, a Minor, etc., et al. v. United States of America,

 17   Case No. 21-CV-00329-JLS-KSC, jointly move to consolidate these two actions for

 18   discovery and trial, before the Hon. Dana M. Sabraw, Chief District Judge, and the

 19   Hon. Barbara Lynn Major, Magistrate Judge, based on the Court’s assignment of the

 20   lower number case.

 21         As set forth more fully in the Notice of Related Cases (ECF No. 2) filed by

 22   Plaintiffs on February 23, 2021, the cases involve the same parties plaintiff, and arise

 23   out of substantially the same facts (Ms. Valenzuela Perez’ pregnancy and labor with,

 24   and the birth of, FRV), and questions of law (California law of medical negligence

 25   and damages related thereto). Substantial overlap exists with regard to the discovery

 26   that will be required in the two cases because of the commonality of pertinent facts,

 27   witnesses, and subject matter, such that it would be inefficient and burdensome for

 28

                                                 2
Case 3:21-cv-00165-DMS-BLM Document 7 Filed 06/01/21 PageID.37 Page 3 of 6



  1   discovery to be conducted separately. For the same reasons, it would also be far more
  2   efficient judicially to administer and try these cases together rather than separately.
  3         Since the higher number case satisfies the “Low Number Rule” criteria set forth
  4   in Local Civil rule 40.1(e), as set forth more fully in the Notice of Related Cases
  5   referenced above (ECF No. 2), the parties respectfully request that the higher number
  6   case be assigned to the same judges assigned to the lower numbered case, Chief
  7   District Judge Dana M. Sabraw and Magistrate Judge Barbara Lynn Major, and that
  8   the two cases be consolidated for discovery and trial.
  9   Dated: May 28, 2021              KENNETH M. SIGELMAN & ASSOCIATES
 10
                                       By:    s/Kenneth M. Sigelman
 11                                           KENNETH M. SIGELMAN, ESQ.
                                              Attorney for Plaintiff
 12                                           E-mail: ken@sigelmanassociates.com
 13

 14   Dated: June 1, 2021              RANDY S. GROSSMAN
                                       Acting United States Attorney
 15

 16                                    By:    s/ Steve B. Chu
                                              STEVE B. CHU
 17                                           Assistant U.S. Attorney
                                              (AUTHORIZATION VIA E-MAIL 6/1/21)
 18                                           Attorney for Defendant UNITED STATES
                                              OF AMERICA
 19                                           E-mail: steve.chu@usdoj.gov
 20

 21   Dated: June 1, 2021              DUMMIT, BUCHHOLZ & TRAPP
 22

 23                                    By:    s/ Moira Brennan
                                              MOIRA S. BRENNAN, ESQ.
 24                                           Attorney for Defendant TRI-CITY
                                              HEALTHCARE dba TRI-CITY MEDICAL
 25                                           CENTER
                                              (AUTHORIZATION VIA E-MAIL 6/1/21)
 26                                           E-mail: moira.brennan@dbt.law
 27   ///
 28   ///
                                                3
Case 3:21-cv-00165-DMS-BLM Document 7 Filed 06/01/21 PageID.38 Page 4 of 6



  1   Dated: June 1, 2021         SCHMID & VOILES
  2

  3                               By:   s/ Robert B. Fessinger
                                        ROBERT B. FESSINGER, ESQ.
  4                                     Attorney for Defendant ROMANA
                                        BAILEY
  5                                     (AUTHORIZATION VIA E-MAIL 6/1/21)
                                        E-mail: Rfessinger@schmidvoiles.com
  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27

 28

                                          4
Case 3:21-cv-00165-DMS-BLM Document 7 Filed 06/01/21 PageID.39 Page 5 of 6
Case 3:21-cv-00165-DMS-BLM Document 7 Filed 06/01/21 PageID.40 Page 6 of 6
